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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                        Case No.: 1:19−cr−00277
                                                          Honorable Edmond E. Chang
Concepcion Malinek
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, July 16, 2021:


        MINUTE entry before the Honorable Edmond E. Chang as to Concepcion
Malinek: In light of the expiration of the petition period, the government's motion for
entry of final order of forfeiture [110] is granted. The order will be posted on the docket
separately. Emailed notice (mw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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